        Case 1:14-cr-02038-SAB          ECF No. 137        filed 01/13/17      PageID.470 Page 1 of 2
 PROB 12C                                                                           Report Date: January 13, 2017
(6/16)

                                       United States District Court
                                                                                                           FILED IN THE
                                                                                                       U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON
                                                      for the

                                        Eastern District of Washington
                                                                                                  Jan 13, 2017
                                                                                                      SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Wesley Lewis Lack                        Case Number: 0980 1:14CR02038-SAB-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Stanley A. Bastian, U.S. District Judge
 Date of Original Sentence: December 12, 2016
 Original Offense:        Brandishing of a Firearm During a Crime of Violence and Aiding and Abetting, 18
                          U.S.C. § 924(c)(1)(A)(ii)(and 2
 Original Sentence:       Prison - 36 months; TSR - 60      Type of Supervision: Supervised Release
                          months
 Asst. U.S. Attorney:     Thomas J. Hanlon                  Date Supervision Commenced: December 21, 2016
 Defense Attorney:        Rick Lee Hoffman                  Date Supervision Expires: December 20, 2021


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 8: You must not communicate or interact with someone you know
                        is engaged in criminal activity. If you know someone has been convicted of a felony, you
                        must not knowingly communicate or interact with tat person without first getting the
                        permission of the probation officer.

                        Supporting Evidence: On January 12, 2017, contact was made with the defendant at his
                        listed residence after it was learned his girlfriend, Shawna Wright, had escaped from the
                        Department of Corrections work release facility in Yakima. Information was obtained which
                        indicated she might be with the defendant.

                        Ms. Wright was located in a back bedroom at the defendant’s residence. The defendant
                        admitted he knew she was a convicted felon and that she had escaped from custody. Ms.
                        Wright’s criminal history consists of felony convictions for forgery, false identification,
                        assault third degree, and residential burglary.


            2           Standard Condition # 4: You must be truthful when responding to the questions asked by
                        your probation officer.
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                      Supporting Evidence: On January 12, 2017, the defendant was contacted at his residence
                      as noted above. The defendant was asked who was home and he replied his mother, step
                      father, and another female friend of his mothers. The defendant supplied a false name for his
                      mother’s friend who was supposed to be in the back bedroom. Once it was learned Ms.
                      Wright was actually the person in the room, the defendant stated he thought she had left the
                      night prior. Upon further discussion, the defendant admitted he knew Ms. Wright had been
                      there all night and that she was wanted on the escape charge.


          3           Special Condition # 3: You must abstain from the use of illegal controlled substances, and
                      must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                      no more than 6 tests per month, in order to confirm continued abstinence from these
                      substances.

                      Supporting Evidence: During the contact with the defendant at his home on January 12,
                      2017, he was advised a random drug test would need to be completed. The defendant
                      admitted he had been using methamphetamine with Ms. Wright the day prior. A Community
                      Corrections Officer (CCO) with the Department of Corrections collected a urine sample
                      from the defendant and it returned presumptive positive for methamphetamine. The
                      defendant again agreed the test was accurate and admitted he had used methamphetamine.

                      The defendant was taken in to custody by the CCO and transported to the Benton County Jail
                      for violations of his state supervision.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the defendant to
answer the allegations contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      01/13/2017
                                                                             s/David L. McCary
                                                                             David L. McCary
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [XX]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                             Signature of Judicial Officer

                                                                              1/13/2017

                                                                             Date
